
USCA1 Opinion

	




          March 31, 1993    UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 92-1343                                  ROBERT E. CAMERON,                                 Plaintiff, Appellee,                                          v.                                 HENRY TOMES, ET AL.,                               Defendants, Appellants.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                     [Hon. Robert E. Keeton, U.S. District Judge]                                             ___________________                                 ____________________                                        Before                                 Selya, Circuit Judge,                                        _____________                            Coffin, Senior Circuit Judge,                                    ____________________                              and Boudin, Circuit Judge.                                          _____________                                 ____________________            Elisabeth J.  Medvedow, Assistant  Attorney General,  Commonwealth            ______________________        of  Massachusetts,  with  whom  Scott  Harshbarger,  Attorney General,                                        __________________        Commonwealth of Massachusetts, was on brief for appellant.            David  M. Rocchio with  whom Robert  D. Keefe,  Mark G. Matuschak,            _________________            ________________   _________________        and Hale and Dorr were on brief for appellee.            _____________                                 ____________________                                    March 31, 1993                                 ____________________                 BOUDIN, Circuit Judge.  This case  was brought by Robert                         _____________            Cameron,  who  is  currently  detained  in the  Massachusetts            Treatment Center  for the Sexually  Dangerous ("the Treatment            Center").  The defendants,  whom we refer to as  "the state,"            are officials  who are responsible for  the Treatment Center.            In  substance,  Cameron  complains  that  his  conditions  of            confinement violate the Due  Process Clause of the Fourteenth            Amendment  and   his   asserted  constitutional   "right   to            treatment."                   After  a   bench  trial  the   district  court   granted            injunctive  relief and  the state  appealed.   We  modify the            injunction in accordance with  this opinion and, with certain            clarifications, otherwise  affirm most of the  relief ordered            by  the district  court.   Our  decision  is based  upon  the            district court's findings  but rests upon somewhat  different            legal grounds.                         I.  THE FACTS AND PRIOR PROCEEDINGS                 On December  13, 1978, Cameron was  convicted in Vermont            of  aggravated  assault  with  a  deadly  weapon  and  sexual            assault--apparently  attempted rape--and sentenced  to a term            of   six  to  twenty  years.    He  was  then  extradited  to            Massachusetts  and  convicted  on  September  12,  1979,  for            assault with  intent to  rape, kidnapping, and  other crimes,            and  sentenced to a term  of ten to  twenty years, commencing            after the Vermont sentence.   On being paroled by  Vermont on                                         -2-                                         -2-            July  12,  1982,  Cameron  began  serving  his  Massachusetts            sentence, which at the time of trial was set to expire in the            year 2002.1                 After serving several  years in a  Massachusetts prison,            Cameron   on  November   14,  1985,   was  adjudged   by  the            Massachusetts  Superior  Court  to be  a  sexually  dangerous            person  under M.G.L. c. 123A,  and committed to the Treatment            Center for a period of one day to life.  The occasion for the            commitment is  not described.   The Treatment Center,  one of            several  facilities   located  at  MCI   Bridgewater,  has  a            checkered history, much of  it embroiled in litigation, e.g.,                                                                    ___            Langton  v. Johnston,  928  F.2d 1206  (1st  Cir. 1991),  and            _______     ________            M.G.L. c.  123A itself has an uncertain future.2  Most of the            Treatment  Center's  inhabitants  have   underlying  criminal            convictions,   and   it  is   administered  jointly   by  the            Departments of Mental Health  and Corrections to address both            the  medical and security aims of the Center.  Cameron's stay                                            ____________________                 1The   district   court   opinion   recites   that   the            Massachusetts  sentence  ended  in  February  1992;  but  the            parties  advise us that Cameron's release date at the time of            trial was 2002.  Cameron's brief says that this period may be            shortened by good time credits and possible parole.                 2The statute  is one of the  so-called sexual psychopath            laws enacted  in the 1940s  in a  number of states.   See  C.                                                                  ___            Tenney, Sex, Sanity and Stupidity in Massachusetts, 42 B.U.L.                    __________________________________________            Rev.  1  (1962).    In 1990,  the  Massachusetts  legislature            curtailed  new admissions  into  the Treatment  Center.   See                                                                      ___            Langton, 928 F.2d at 1209.            _______                                         -3-                                         -3-            at  the  Treatment  Center appears  to  have  been even  more            unhappy than normal.                 Although the  parties agree  on little else,  it appears            that  Cameron who  is  50 years  old  and a  Vietnam  veteran            suffers from severe psychological disorders.  In the words of            the  district court,  "Cameron suffers  from a  borderline or            mixed   personality   disorder   and  post-traumatic   stress            disorder.  There is also no dispute that as a result . . . he            may  often act  in  a paranoid  and confrontational  manner."            Cameron  v. Tomes, 783 F.  Supp. 1511, 1517  (D. Mass. 1992).            _______     _____            Psychological treatment is available at the Treatment Center-            -indeed,  its availability  is provided  for under  a consent            judgment entered many years  ago3--but Cameron found what was            offered unsuitable  until 1989 when he  established a working            relationship with a therapist.                 In  the meantime,  Cameron brought  the present  suit in            1986 challenging his conditions  of confinement.  Counsel was            assigned,  his  claims  evolved,  and in  December  1991  and            January 1992,  the district  court conducted a  six-day bench            trial  in the case.   In his  opinion issued  on February 14,            1992,  the  district  judge   declared  that  Cameron  had  a                                            ____________________                 3Regulations adopted pursuant to the decree provide that            "[e]very  patient shall  be offered  treatment to  effect his            early return to public society.  Such treatment shall consist            of  medical, psychiatric  [and other  services] .  . .   Such            treatment   shall  be  administered  .  .   .  in  the  least            restrictive   conditions  which  are   consistent  with  [the            patient's] security needs."  Langton, 928 F.2d at 1211.                                         _______                                         -4-                                         -4-            "constitutional  right to  minimally adequate  treatment [for            his mental disorders] based upon the exercise of professional            judgment."   783  F. Supp.  at 1516.   The  court rejected  a            motion to dismiss by the state, which had argued that no such            constitutional  right existed.   Id.   It  also rejected  the                                             __            state's res  judicata defense, id.  at 1516-17, based  on the                    _____________          __            Langton case where  a different district judge had found that            _______            the  Treatment  Center was  in  general  compliance with  the            consent decree.  See Langton, 928 F.2d at 1208-16.                             ___ _______                 The  district  court then  ruled  that, on  a  number of            issues,  those in  charge of  the  Treatment Center  had made            judgments  about Cameron  and enforced  policies  against him            without,  or   contrary  to,   the  advice  of   the  medical            professionals involved  in his  treatment.   783 F.  Supp. at            1518-25.  The district  court made specific findings relating            to  Cameron's  access to  outside  medical care,  the  use of            shackles and an armed guard in transporting  him, his housing            in  the  facility,  physical  searches of  him,  and  similar            matters.  The  court then  granted injunctive  relief on  ten            different matters.  Id. at 1526-27.                                __                 First, and most broadly, the court ordered the pertinent            administrative board within  the Treatment Center to  conduct            an immediate  review  of his  current  sexual  dangerousness,            appropriate  treatment and  conditions,  and his  request  to            participate in  what is called the  community access program.                                         -5-                                         -5-            783 F. Supp.  at 1526.   This injunctive  provision ended  by            stating:    "All  final  decisions  on   Cameron's  long-term            treatment,  including  his  participation  in  the  community            access program, must be made by a qualified professional,  or            with due respect and  regard for the judgment of  a qualified            professional."  Id.                            __                 Several other decree provisions are similarly qualified.            The court suspended the use of shackles and an armed guard in            transporting Cameron  for  outside medical  care  unless  and            until  "a qualified  decision  maker determines  through  the            exercise  of professional  judgment that such  restraints are            professionally  acceptable,  based  on  a  weighing  of  [the            state's] needs along with Cameron's treatment needs."  783 F.            Supp. at 1526.   Prohibited, under a  similar condition, were            subjecting Cameron to a restrictive internal movement policy,            to  an intrusive  search  procedure previously  used and  so-            called   "oral  cavity   searches,"   and  to   the  "current            disciplinary system" of the  Treatment Center.  Id. at  1526-                                                            __            27.                 Finally,  without any  qualification as  to professional            judgment, the  court ordered that Cameron  be allowed medical            treatment  at Veterans Administration facilities for specific            medical conditions, that he be allowed housing in the maximum            privilege unit of the  Treatment Center without consenting to            share  a  room, and  that  a handicapped  accessible  room be                                         -6-                                         -6-            immediately made available  to him.   783 F.  Supp. at  1526.            This  last direction, as well  as several of  the others, was            related  to   physical  disabilities  suffered   by  Cameron,            including the  amputation of  a  leg due  to infection  while            Cameron was in the care of the state.                                      II. DISCUSSION                 Res Judicata.   The  state's threshold objection  to the                 ____________            suit  is  that  Cameron's  claims are  encompassed  by  prior            litigation   and  are  therefore   barred  as  res  judicata.                                                           _____________            Emphasizing the  "claim preclusion" branch  of res  judicata,                                                           _____________            the  state's brief says that one of the consolidated district            court cases  embraced by  Langton--Bruder v. Johnston--was  a                                      _______  ______    ________            class action  suit concerning the right to  treatment for all            persons  confined  at  the   Treatment  Center  as  of  1987.            Cameron, says the  state, was a  member of the class  and the            state prevailed in that case on the ground that treatment was            adequately provided.                 We agree with the district court that the state has made            no showing that  Cameron's claim is  barred by res  judicata.                                                           _____________            Cases on res judicata, ample in many areas, are fairly sparse                     ____________            where preclusion  of distinctive  individual claims  is urged            based upon an earlier  class action judgment.  But  in Cooper                                                                   ______            v. Federal Reserve Bank of Richmond, 467 U.S. 880 (1984), the               ________________________________            Supreme Court  confirmed what  common sense would  suggest: a            class action judgment--there, in a discrimination case--binds                                         -7-                                         -7-            the class members as  to matters actually litigated  but does            not resolve any claim  based on individual circumstances that            was not addressed in the class action.  Id. at 880-82.                                                    __                 Under Cooper,  we think  that res judicata  plainly does                       ______                  ____________            not apply in  this instance.  The several law suits and years            of proceedings embraced by Langton require pages to describe,                                       _______            but  the  suits were  concerned  with  fairly general  issues            (e.g., physical plant, sequestration, equality  of treatment)             ___            and with specific claims  of individuals other than Cameron.4            The  closest that that litigation  came to this  case was (1)            endorsement of  a general requirement of  treatment set forth            in  state regulations,  (2) rejection  of a  charge that  the            authorized  absence  program   was  underutilized,  and   (3)            rejection  of  a  general  attack  on  the  "double  bunking"            requirement.   These claims dealt with  the general condition            of  inhabitants  of the  Treatment  Center.   If  Langton has                                                              _______            anything else in  common with  this case, the  state has  not            mentioned it.                 This  case, by  contrast, rests  primarily  on Cameron's            claims   that   his   unusual   situation   requires  special            accommodations:   specifically, that his  physical disability            affects his  need for outside medical  visits, freer movement                                            ____________________                 4A  detailed history  of the  litigation and  the issues            decided is  contained in the thorough,  171-page, unpublished            decision  of  Judge  Mazzone,  which this  court  in  Langton                                                                  _______            affirmed on all issues apart from attorney's fees.                                         -8-                                         -8-            within   the   Treatment   Center,   and   separate   bunking            arrangements  adapted to  his handicap,  and that  his mental            condition  (what lay  people  would probably  call  paranoia)            makes ordinary physical  searches, disciplinary  arrangements            and  other  constraints  unsuitable,  indeed  psychologically            dangerous, for him.  There is no suggestion by the state that            these issues  peculiar to Cameron were  actually litigated in            the Langton case.                _______                 Thus, the  state's claim reduces itself  to the argument            that  Cameron  had to  litigate those  issues in  the earlier                           ___            cases or forever  hold his peace.  To describe  this claim is            to refute  it:   class action institutional  litigation often            addresses general circumstances,  not the distinctive  plight            of someone claiming special  needs or status.  To  the extent            individual concerns were addressed in Langton, Cameron is not                                                  _______            even mentioned  in the  district court  decision.  Nor  could            earlier  cases deal with  later occurring  events that  are a                                      _____            part of  Cameron's present case.  In theory, claim preclusion            is  possible   where  an   earlier  class  action   claim  is            essentially the same as a later action for individual relief,            and issue preclusion is possible where a fact resolved in the            class  action  proves important  in  the later  action.   See                                                                      ___            Cooper,  467 U.S. at 880-82.   No such overlap has been shown            ______            here.                                         -9-                                         -9-                 The Merits.   The district court  in this case  premised                 __________            its  decision  on  what  it  deemed  to  be  two  established            constitutional  rights possessed  by  those at  the Treatment            Center:  "a  constitutional   right  to  minimally   adequate            treatment [for  mental disorders] based upon  the exercise of            professional  judgment," 783 F. Supp. at 1516, and a right to            be free from  "[b]odily restraints" except  "when and to  the            extent  professional judgment deems  this necessary .  . . ."            Id. at 1520.   It  is not entirely  clear whose  professional            __            judgment--medical or administrative--the  district court  had            in  mind; but the implication  of its discussion  is that the            administrators of  the facility  are bound  to listen  to the            judgment of  the medical professionals and to  heed it unless            they offer good reason for  refusing to do so.  Id.  at 1519-                                                            __            20.                   Both  sides  on this  appeal  seek  a  decision  on  the            constitutional "right  to treatment," the  state urging  that            none exists  and Cameron supporting  the district court.   In            our view, a  decision on  the abstract issue  of "a right  to            treatment" is not  necessary for a disposition of  this case;            and  the concept has only  a remote connection  to the actual            relief sought.   We address this  point briefly, against  the            background   of  prior  "right   to  treatment"  law,  before            considering Cameron's own situation and the proper touchstone            for appraising his claims.                                         -10-                                         -10-                 It  is settled that those who are confined by the state,            for whatever  reason, are entitled under  the Constitution to            food,  clothing,  medical  care,  and  reasonable  efforts to            secure  physical  safety.   Beyond  such obvious  essentials,            however, guidance from the  Supreme Court is largely confined            to  one cautiously phrased decision.   In Youngberg v. Romeo,                                                      _________    _____            457  U.S.  307  (1982), a  mother,  unable  to  care for  her            retarded  child, placed him  in a  state institution.   Then,            discovering  that he was  sometimes physically  restrained by            "soft"  shackles  and  taught  little  in  "basic   self-care            skills," she sued.   The Supreme Court held that  under those            circumstances the child was  constitutionally entitled to  be            free from any  but necessary  restraints and had  a right  to            basic self-care training  to secure safety and  mobility.  As            for  deciding when and how  much, the Court  said that judges            should  not dictate the  choice among acceptable alternatives            and that a "presumption" of  correctness must be attached  to            "professional judgment."  Id. at 321-23.                                      __                 Youngberg  left  in limbo  a prior  line of  lower court                 _________            cases  and academic  literature that  had  sought to  shape a            broad   constitutional   "right   to  treatment,"   including            treatment  of  the psychological  ills of  confined persons.5                                            ____________________                 5See Stefan, Leaving Civil Rights to the "Experts": From                  ___         ___________________________________________            Deference  to  Abdication  Under  the  Professional  Judgment            _____________________________________________________________            Standard, 102  Yale L.J. 639,  686-90 (1992).   Treatment, in            ________            any  curative sense, was not even an issue in Youngberg since                                                          _________            the  retardation  was  not  curable.    The  Court  expressly                                         -11-                                         -11-            Since  Youngberg,  a few  circuits  have  ventured into  this                   _________            constitutional territory, returning with  different answers.6            We ourselves may  have seemed to send mixed signals.   In Doe                                                                      ___            v. Gaughan, 808 F.2d  871 (1st Cir. 1986), this  court, under               _______            the caption  "constitutional right to treatment," agreed that            Youngberg  extended beyond  the retarded  to protect  similar            _________            interests of those mentally  ill persons civilly committed to            a different Bridgewater facility.   Id. at 884.   In Langton,                                                __               _______            four  years later,  this court  explicitly refused  to decide            whether there  was a  "constitutional right to  treatment" at            the Treatment  Center,  remarking  that  "the  trial  judge's            skirting of  the constitutional  thicket was appropriate"  as            such  issues should be decided only when necessary.  928 F.2d            at 1217.   One reason why  it was unnecessary in  Langton was                                                              _______            that  the consent  decree  "set a  higher  standard than  the                                            ____________________            declined  to  devise  any  general   rights  to  ameliorative            programs beyond basic self-help training to assure safety and            mobility, saying "we  need go no further in this  case."  457            U.S. at 319.                    6Compare, e.g., Ohlinger v. Watson, 652 F.2d 775 (1980),                  _______  ____  ________    ______            with  Bailey v.  Gardebring, 940 F.2d  1150 (8th  Cir. 1991),            ____  ______     __________            cert. denied, 112 S.  Ct. 1516 (1992).  See generally, Woe v.            ____  ______                            _____________  ___            Cuomo,  729 F.2d 96, 105  (2d Cir. 1984)  ("The Supreme Court            _____            has  not   directly   addressed  the   question   whether   a            constitutional right to treatment exists . . . .").                                           -12-                                         -12-            Constitution"  in  affording  treatment  for   those  in  the            Treatment Center.  Id.7                                 __                 Although the parties seek to litigate the abstract issue            of a right to treatment, we prefer to plow a  furrow no wider            than  the case demands.   Cameron's claims for  the most part            are  not really  "right to  treatment" claims  at all:  he is            receiving   substantial   psychological  treatment   for  his            condition,  and most of  the arguments  he is  making concern            housing,  mobility, transportation,  and security.   Further,            under existing state law, there is already a regulation-based            right to  treatment at  the Treatment Center  that equals  or            exceeds anything  that the Supreme Court  would likely impose            under the Due Process Clause.  See Langton, 928 F.2d at 1217.                                           ___ _______            It  is also unclear whether, if the Supreme Court did provide            a general "right to treatment" for civilly committed persons,            it  would  apply  that right  to  those  held  as well  under            criminal sentence.  Youngberg,  457 U.S. at 321-22.8   At the                                _________                                            ____________________                 7In Cortes-Quinones v.  Jimenez-Nettleship, 842 F.2d 556                     _______________     __________________            (1st Cir.), cert. denied, 488 U.S. 823 (1988), and Torraco v.                        ____  ______                           _______            Maloney, 923 F.2d 231  (1st Cir. 1991), this  court addressed            _______            claims that authorities had  not taken the precaution against            suicide of individual prisoners.   While both decisions spoke            of  the state's obligation to  provide for medical needs, the            context was  very far removed  from any generalized  right to            treatment for psychological conditions.                 8Whatever other significance it  may have, we think that            Cameron's criminal sentence does refute  any claim that he is            entitled under the Constitution to minimum physical restraint            based on the judgment of his doctors.  Quite unlike the child            in  Youngberg,   Cameron  is  under   criminal  sentence   of                _________            imprisonment for serious and violent crimes.  To that extent,                                         -13-                                         -13-            very least, the Court's approach in Youngberg suggests hewing                                                _________            to the case-by-case approach.                 Taking that  approach here, we think  the touchstone for            Cameron's claims is the Due Process Clause of the  Fourteenth            Amendment, requiring  conditions that  do not fall  below the            minimum standards of civilized decency.  See generally Rochin                                                     _____________ ______            v.  California,  342 U.S.  165  (1952).   Under  this rubric,                __________            context works in Cameron's favor.  While  his prison sentence            will expire in 2002  or even earlier, his confinement  in the            Treatment Center is from  one day to life and  will never end            unless his condition improves and he is found to be no longer            sexually dangerous.   Thus,  Cameron's best argument  is that            the   state's   ordinary  procedures   and   constraints  are            affirmatively and needlessly worsening his  mental condition,                                         _________            so that  he may well be confined  long after his sentence has            expired.  This is a claim with some bite, no  matter how much            latitude states ordinarily have to run their institutions.                 Further, the  findings  of  the  district  court,  which            control unless clearly erroneous, Fed. R.  Civ. P. 52(a); Doe                                                                      ___            v.  Gaughan,  808 F.2d  at  877,  lend  support to  Cameron's                _______            argument.   The  findings amount  to a  determination by  the            district  court  that  procedures  that might  ordinarily  be            applied--such  as certain  of the  searches and  the internal                                            ____________________            he  lacks  the  same  "liberty"  interest  as  the  child  in            Youngberg.            _________                                         -14-                                         -14-            movement controls--worsen Cameron's condition and may well be                                                          ___            unnecessary in  this case.  See 783 F. Supp. at 1523-25.9  On                                        ___            both points,  effect and  necessity, the district  court says            that this is  the judgment of  the medical professionals  and            that  no  adequate  response   has  been  obtained  from  the            administrators.  Id.                             __                 The  state  broadly  disputes this  version  of  events,            pointing  to other evidence  showing how  much it  has helped            Cameron  and tried to accommodate his special needs.  It does            not, however, make much effort in its brief to rebut specific            findings as to  specific episodes.   We think  there is  some            conflict in the  evidence but also that  the district judge's            findings  are not clearly erroneous.   It is  true that these            findings  were made in the framework of a legal analysis that            we do not adopt, but the  findings fit well enough into a due            process framework and  this court may  affirm on any  grounds            supported by evidence.   See Doe  v. Anrig,  728 F.2d 30,  32                                     ___ ___     _____            (1st Cir. 1984).                                            ____________________                 9For  example,   the  court  invoked  the  testimony  of            Cameron's  therapist  that  the  shackling  was  "harmful  to            Cameron's mental  health" and the court  found it unnecessary            based on  "uncontroverted evidence."   783 F. Supp.  at 1520.            The  court determined  that the  Treatment Center's  internal            movement policy,  allowing free movement for  only 10 minutes            each hour, was unworkable for Cameron as an amputee, creating            "undue pressure [that] . . . compromises his treatment."  Id.                                                                      __            at  1522.   A  forcible search  of Cameron  while handcuffed,            which  the court found may well  have been unnecessary, drove            Cameron  into  moods  of  "helplessness,  anger,  despair and            hopelessness . . . ."  Id. at 1523.                                   __                                         -15-                                         -15-                 Relief  Ordered by  the District  Court.   The immediate                 _______________________________________            relief  ordered by  the district  court is,  with one  or two            exceptions,  fairly  modest,   primarily  requiring   further            consideration  of Cameron's  case and some  interim measures.            Importantly, the  court has ordered a  general reappraisal of            Cameron's treatment and conditions, with decisions to be made            by the administrators  "with due respect  and regard for  the            judgment of a qualified professional."  783 F. Supp. at 1526.            But given the district court's use in several contexts of the            "professional judgment" standard, a word is  in order for the            guidance  of the parties  and for any  future litigation that            may ensue.                 In an institution  like the Treatment  Center, as in  an            ordinary prison,  security  and administrative  concerns  may            clash with  the welfare and  comfort of  individuals, as  the            district  court recognized.  This  was so in  the facility at            issue in Youngberg, 457 U.S.  at 320, and it is surely  so in                     _________            the  Treatment Center  where most  if not all  those detained            have been convicted of crimes and many may be dangerous.  Any            professional   judgment  that  decides   an  issue  involving                                           _______            conditions   of  confinement   must   embrace  security   and            administration, and not merely medical judgments.                 Thus when  it comes to  appraising the judgments  of the            administrators,  it does not follow that they are bound to do            what the doctors say is best  for Cameron even if the doctors                                         -16-                                         -16-            are  unanimous.   The administrators  are responsible  to the            state  and to the public for making professional judgments of            their  own, encompassing  institutional  concerns as  well as            individual welfare.  Nothing in the Constitution mechanically            gives  controlling   weight  to   one  set  of   professional            judgments.   Indeed, when it comes  to constitutional rights,            none of the  professionals has the  last word.   Professional            judgment, as the Supreme Court has explained,  creates only a            "presumption"  of  correctness;  welcome  or  not, the  final            responsibility  belongs to  the courts.   See  Youngberg, 457                                                      ___  _________            U.S. at 323.                 With this clarification as  to the role of "professional            judgment," we  sustain the first injunctive  relief provision            ordered  by  the  district   court    directing  the  general            reappraisal of Cameron's  personal dangerousness  and of  his            general  conditions of confinement.  Para. 1 (783 F. Supp. at            1526).  The findings noted  above and the evidence  portrayed            in the  district court's decision support  this fairly modest            directive.  In framing equitable relief, a district court has            substantial  latitude,  and  we  think its  "remand"  to  the            Treatment Center administration is well within its authority.                 We  also conclude that, on  the same basis  and with the            same clarification  as to the role  of professional judgment,            the  district court's findings, see 783  F. Supp. at 1522-24,                                            ___            support  several other  conditioned decree provisions:   that                                         -17-                                         -17-            administrators  consider  requests by  Cameron  for treatment            outside the Treatment Center, para. 4 (id. at 1526); that the                                                   __            ten-minute movement  restriction and oral-cavity  searches be            suspended  as  to  Cameron   unless  and  until  a  qualified            decision-maker  concludes  that  they  are   appropriate  for            Cameron; and  that the "Extraction Team"  searches of Cameron            be barred unless there is prior consultation with a Treatment            Center clinician.  Paras. 5, 6 and 8 (id. at 1526).                                                    __                 On two other decree provisions, we believe modifications            are  required.   First,  the district  court ordered  that an            armed  guard and shackles no longer be used when transporting            Cameron  outside the  facility unless  and until  a qualified            decision-maker determines this to be necessary.  Para. 3 (783            F. Supp.  at 1526).   In matters  of security, as  opposed to            administrative convenience, the administrators' discretion is            at   its  zenith   and  Cameron   is  still   under  criminal            sentence.10   An armed  guard and shackles  may seem needless            precautions for an amputee,  but we think that the  Treatment            Center should not be obliged to suspend its specific security            measures  for outside  visits while  Cameron's case  is being            reexamined.   If the  district court  wishes to  require this                                            ____________________                 10M.G.L.  c.  123A,     6A, provides  that,  subject  to            exceptions entrusted to an administrative board,  "any person            committed as a sexually dangerous person . . . shall  be held            in secure custody."  Discharge from the Treatment Center does            not "terminate . . . any . . . unexpired sentence."  Id.   9.                                                                 __                                         -18-                                         -18-            armed-guard-and-shackles  requirement to be re-examined on an            expedited basis, that is within its province.                 Second, we similarly modify the district court's general            injunction  preventing the  Treatment Center  "from enforcing            the  current   disciplinary  system,  run  by  Department  of            Correction  personnel, against  Cameron" until  a new  system            suitable to his needs is constructed.  Para. 7 (783 F.  Supp.            at  1526).  We have no problem with the decree's requirements            that   the  administrators   consider  whether   changes  are            warranted in the  current system  as applied  to Cameron  and            that  medical judgments be weighed  in this process.   But we            think  that a  generally phrased  suspension of  "the current            disciplinary system" in the meantime cuts too broadly and may            raise security issues as well.                 Finally, we sustain  three unqualified decree provisions            made by  the  district  court: that  Cameron  be  allowed  to            continue, as apparently he is at present,  visits to Veterans            Administration   facilities   related   to  his   amputation,            circulatory problems, and possible cancer; that the "consent"            to  double bunking  be waived  as  to Cameron,  the "consent"            being  largely symbolic;  and that  a handicapped  accessible            room,  including  a  hospital   bed  if  necessary,  be  made            available to him.  Paras. 2, 9, 10 (783 F. Supp. at 1526-27).            These specifics of relief lie largely within the  judgment of                                         -19-                                         -19-            the district court, and  the state's brief makes  no targeted            showing that these provisions are improper.                                   III. CONCLUSION                 No one who reviews this record can dispute that  Cameron            has  done  harm in  the  past,  nor doubt  that  he has  been            afflicted  with serious mental illness.   The findings of the            district court suggest that, without special attention to his            peculiar circumstances,  further damage  will be done  to his            mental condition.  We conclude that the state does have a Due            Process  Clause  obligation,  to   be  balanced  by  it  with            competing  demands and interests, to seek to limit the extent            to which  it worsens Cameron's condition  and thereby extends            his detention indefinitely.  Needless to say, there can be no            precision in such a Due Process Clause "standard" nor any way            to  avoid  further  dispute  about its  application,  if  the            parties are bent on dispute.                   The district  judge,  we think,  had the  right idea  in            directing  the Treatment  Center  to undertake  a good  faith            reappraisal  of its policies as applied to Cameron.  The more            swiftly the  matter  is returned  to  that forum,  with  that            perspective,  the better  off Cameron  will be.   As  for the            state, it  may regard the district judge's  strictures on its            attitude  as unfair  and  heedless of  its  past efforts  for            Cameron.  But the injunction, at least as we have adjusted it            and delimited  its future  effect, is not  unduly burdensome.                                         -20-                                         -20-            Like  Cameron,  the  state  has  an  evident  interest  in  a            resolution that avoids further litigation.                 The district court's injunction is modified as set forth                                                    ________            above and is otherwise  affirmed, with the clarifications and                                    ________            upon  the  grounds  stated in  this  opinion.    No costs  or            attorneys'  fees shall  be  awarded in  connection with  this            appeal.                 It is so ordered.                 ________________                                         -21-                                         -21-

